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                        Exhibit L
                       to Declaration of Matthew Hooker
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                                    CITY OF CHICAGO
                                   DEPARTMENT OF LAW

IN THE MATTER OF OPTUMRX, INC.
                                                      INVESTIGATIVE SUBPOENA

COPAY CLAWBACKS

TO:    OPTUMRX, INC.
       c/o CT Corporation System
       208 S LaSalle St., Suite 814
       Chicago, IL 60604

GREETINGS:

         This INVESTIGATIVE SUBPOENA is issued pursuant to § 2-25-090(e) and § 1-22-050
of the Municipal Code of Chicago ("MCC") because it appears to the Corporation Counsel that
certain entities have engaged in, are engaging in, or are about to engage in an act or practice that
is in violation of § 2-25-090, which may include, but is not limited to, the following conduct:

        Engaging in any act of consumer fraud or deceptive practice while conducting any trade
or business in the city relating to copay clawbacks, instances where a consumer's deductible,
coinsurance, copay, or any combination thereof would exceed the cash price that a consumer not
utilizing insurance would pay for the same prescription, and/or gag clauses, as further defined
and described herein, in violation of MCC § 2-25-090(a); and

        Engaging in any conduct constituting an unlawful practice under the Illinois Consumer
Fraud and Deceptive Business Practices Act relating to copay clawbacks, instances where a
consumer's deductible, coinsurance, copay, or any combination thereof would exceed the cash
price that a consumer not utilizing insurance would pay for the same prescription, and/or gag
clauses, as further defined and described herein, in violation of MCC § 2-25-090(a).

       YOU ARE REQUIRED BY LAW TO PRODUCE at the City of Chicago Department
of Law, Affirmative Litigation Division, 121 North LaSalle Street, Suite 600, Chicago, Illinois
60602, Attention: Jane Elinor Notz, any time prior to December 14, 2018 at 10:00 a.m., all
documents and information within your possession or control described in this Investigative
Subpoena.

       YOU ARE FURTHER REQUIRED BY LAW to certify that all of the documentary
material required by this Investigative Subpoena and in your possession, custody, or control has
been produced and made available to the Corporation Counsel, pursuant to MCC § 1-22-050, and
to provide with your production a completed certificate in substantially the form attached as
Exhibit "A."
       NOTE: THESE DOCUMENTS ARE OR MAY BE PHYSICAL EVIDENCES

       NOTE: YOU HAVE A RIGHT TO BE ASSISTED BY COUNSEL
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      THE MUNICIPAL CODE OF CHICAGO PROVIDES AS FOLLOWS:

      MCC 1-22-050(j)(2) Petition to modify or set aside subpoena.

              (A) Any person who has received a subpoena issued under subsection
      (a) may file, in the circuit court of any county within which such person resides, is
      found, or transacts business, and serve upon the corporation counsel a petition for
      an order of the court to modify or set aside such subpoena. In the case of a
      petition addressed to an express demand for any product of discovery, a petition
      to modify or set aside such demand may be brought only in the circuit court of the
      county in which the proceeding in which such discovery was obtained is or was
      last pending. Any petition under this subparagraph (A) must be filed:

             (i) within 20 days after the date of service of the subpoena, or at any
             time before the return date specified in the subpoena, whichever date is
             earlier, or
             (ii) within such longer period as may be prescribed in writing by the
             corporation counsel.

               (B) The petition shall specify each ground upon which the petitioner
      relies in seeking relief under subparagraph (A), and may be based upon any
      failure of the subpoena to comply with the provisions of this section or upon any
      constitutional or other legal right or privilege of such person. During the
      pendency of the petition in the court, the court may stay, as it deems proper, the
      running of the time allowed for compliance with the subpoena, in whole or in
      part, except that the person filing the petition shall comply with any portion of the
      subpoena not sought to be modified or set aside.

                                      INSTRUCTIONS

A.    If any document, report, study, memorandum or other written material or information is
      withheld or not identified under claim of privilege, furnish a list identifying each
      document or requested information together with the following information (as relevant):
      date, author, sender, recipient, persons to whom copies were furnished or information
      provided, together with their job titles, subject matter of the document, the basis for the
      privilege, and the paragraph or paragraphs of the Request(s) to which the document or
      information is responsive.

B.    In each instance in which a document is produced in response to a Request, the current
      version should be produced together with all earlier versions, or predecessor documents
      serving the same function during the relevant time period, even though the title of earlier
      documents may differ from current versions.

C.    The Investigative Subpoena calls for all described documents in your possession, custody
      or control without regard to the person or persons by whom or for whom the documents



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      were prepared (e.g., your company employees, contractors, vendors, distributors, service
      providers, competitors, or others).

D.    The following procedures shall apply to the production, inspection and copying of
      documents:

      1.     You shall produce original, complete documents. Documents shall be produced
             in the order that the documents are maintained in your files, in original folders,
             with the folder's original file tabs.

             a.     Any documents produced in response to this Investigative Subpoena
                    should be provided as a Group 4 compression single-page "TIFF" image
                    that reflects how the source document would have appeared if printed out
                    to a printer attached to a computer viewing the file. Extracted text will be
                    included in the manner provided herein. To the extent that extracted text
                    does not exist, these images will be processed through Optical Character
                    Recognition ("OCR") so that they are fully searchable. Extracted text and
                    OCR should be provided in separate document level text files. "Load
                    files" shall be produced to accompany the images and shall facilitate the
                    use of the litigation support database systems to review the produced
                    images.

             b.     Document Unitization. Each page of a document shall be electronically
                    converted into an image as described above. If a document is more than
                    one page, the unitization of the document and any attachments and/or
                    affixed notes shall be maintained as it existed in the original when creating
                    the image file and appropriately designated in the load files. The
                    corresponding parent/attachment relationships, to the extent possible, shall
                    be provided in the load files furnished with each production.

             c.     Bates Numbering. Each page of a produced document shall have a
                    legible, unique page identifier ("Bates Number") electronically branded
                    onto the image at a location that does not obliterate, conceal, or interfere
                    with any information from the source document. To ensure that the Bates
                    Numbers do not obscure portions of the documents, the images may be
                    proportionally reduced to create a larger margin in which the Bates
                    Number may be branded. There shall be no other legend or stamp placed
                    on the document image, except those sections of a document that are
                    redacted to eliminate material protected from disclosure by the attorney-
                    client or work product privileges shall have the legend "REDACTED"
                    placed in the location where the redaction(s) occurred or shall otherwise
                    note the location and/or location of the information for which such
                    protections are claimed.

             d.     File Naming Conventions. Each document image file shall be named with
                    the unique Bates Number of the page of the document in the case of


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                   single-page TIFFs, followed by the extension "TIF". Each document shall
                   be named with a unique document identifier. Attachments shall have their
                   own unique document identifiers.

            e.     Production Media. The documents should be produced on CD-ROM,
                   DVD, external hard drive (with standard Windows PC compatible
                   interface), (the "Production Media"). Each piece of Production Media
                   shall identify a production number corresponding to the production
                   "wave" the documents on the Production Media are associated with (e.g.,
                   "V001", "V002"), as well as the volume of the material in that production
                   wave (e.g., "V001", "V002"). For example, if the first production wave
                   comprises document images on three hard drives, you shall label each hard
                   drive in the following manner: "V001-001", "V001-002", "V001-003".
                   Additional information that shall be identified on the physical Production
                   Media shall include: (1) text referencing that it was produced in response
                   to this Investigative Subpoena, (2) your name, (3) the production date, and
                   (4) the Bates Number range of the materials contained on the Production
                   Media.

            f.     Objective Coding/Extracted Meta Data. You shall produce with each
                   production of documents extracted metadata for each document (the
                   "Objective Coding") included in the load file. The data file shall include
                   the fields and type of content set forth in the SPECIAL
                   INSTRUCTIONS FOR ELECTRONICALLY STORED MATERIAL
                   section. Objective Coding shall be labeled and produced on Production
                   Media in accordance with the provisions set forth above.

            g.     Native format for Excel and databases. To the extent that such documents
                   exist in Excel or some other spreadsheet, produce the document in Excel.
                   To the extent that the document constitutes a database, produce the
                   document in Access.

      2.    All attachments to responsive documents shall be produced attached to the
            responsive documents.

      3.    No portion of any documents will be masked and the entire document shall be
            produced.

      4.    The documents shall be produced at the location set forth or at such 'other
            locations as counsel agree.

      5.    Documents shall be available on reasonable notice for inspection and copying
            after initial production throughout the term of the investigation or litigation. The
            documents shall be maintained in the order in which it was produced.




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      6.     You shall label each group of documents and interrogatories in the following
             manner: Response to Request No. 1; Response to Request No. 2, etc., and
             identify the Bates Number range for the corresponding documents that are
             responsive or written responses.

      7.     Provide a key to all abbreviations used in the documents, providing a method of
             identifying all documents requiring use of the key.

      8.     If you obtain information or documents responsive to any request after you have
             submitted your written responses or production, you should supplement your
             responses and/or production with any new and or different information and/or
             documents that become available to you.

                                       DEFINITIONS

A.    "All" shall be construed to include the collective as well as the singular and shall mean
      "each," "any," and "every."

B.    "Any" shall be construed to mean "any and all."

C.    "Chicago consumer(s)" shall mean any individual residing in Chicago.

D.    "Communications" shall mean and refer to any exchange of information by any means of
      transmissions, sending or receipt of information of any kind by or through any means
      including, but not limited to, verbal expression, gesture, writings, documents, language
      (machine, foreign, or otherwise) of any kind, computer electronics, email, SMS, MMS or
      other "text" messages, messages on "social networking" sites (including, but not limited
      to, Facebook, Google+, MySpace and Twitter), shared applications from cell phones,
      "smartphones," netbooks and laptops, sound, radio, or video signals, telecommunication,
      telephone, teletype, facsimile, telegram, microfilm or by any other means. It also
      includes, without limitation, all originals and copies of inquiries, discussions,
      conversations, correspondence, negotiations, agreements, understandings, meetings,
      notices, requests, responses, demands, complaints, press, publicity or trade releases and
      the like that are provided by you or to you by others.


E.    "Copay clawback" shall mean instances where there is a positive difference between the
      copay paid by the consumer and the price the relevant third party payor negotiated for a
      particular prescription that is retained by you or the relevant third party payor.

F.    "Document(s)" shall mean any writing or any other tangible thing, whether printed,
      recorded (in audio, video, electronically or by any other means), reproduced by any
      process, or written or produced by hand, including, but not limited to, letters,
      memoranda, notes, opinions, books, reports, studies, agreements, statements,
      communications (including inter-company and intra-company communications),
      correspondence, telegrams, email, instant messages, chat logs, SMS, MMS or other


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      "text" messages, posted information, messages, chat logs on "social networking" sites
      (including, but not limited to, Facebook, Google+, MySpace and Twitter), logs,
      bookkeeping entries, summaries or records of personal conversations, diaries, calendars,
      telephone messages and logs, forecasts, photographs, images, tape recordings, models,
      statistical statements, graphs, laboratory and engineering reports, notebooks, charts,
      plans, drawings, minutes, bylaws, resolutions, records of conferences, expressions or
      statements of policy, lists of persons attending meetings or conferences, lists of clients or
      customers or suppliers, reports or summaries of interviews, opinions or reports of
      negotiations, brochures, pamphlets, advertisements, circulars, trade letters, press releases,
      drafts of any document and revisions of drafts of any document, and any other similar
      paper or record. The terms also include a copy of a document where the copy is not
      exactly the same as the original. The terms also include emails and other documents
      made or stored in electronic form, whether kept on computers, computer tapes, disks or
      drives, including Cloud storage, of any type, or other media upon which information may
      be recorded.

G.    "Employee" includes, but is not limited to, all current or former salaried employees,
      hourly employees, independent contractors, and individuals performing work as
      temporary employees.

H.    "Gag clauses" shall mean any limitation on pharmacies and/or their employees: (a) telling
      consumers that prescription drug transactions contain copay clawbacks; (b) informing
      consumers that they might save money by paying for a prescription drug in cash rather
      than using insurance; (c) notifying consumers that another cheaper option exists; or (d)'
      posting cash prices.

I.    "Including" is used merely to emphasize that a request for certain types of documents or
      information should not be construed as limiting the request in any way.

J.    "Negotiated price" shall mean the price the relevant third party payor negotiated for a
      particular prescription.

K.    "Person" means any natural person or such person's legal representative; any partnership,
      domestic or foreign corporation, or limited liability company; any company, trust,
      business entity, or association; and any agent, employee, salesman, partner, officer,
      director, member, stockholder, associate, or trustee.

L.    "Pharmacy benefit manager(s)" or "PBM(s)" shall mean any organization that contracts
      with third party payors to provide pharmacy benefits or pharmacy administrative services
      to Chicago consumers.

M.    "Pharmacy Reimbursement Overpayment Program" shall mean the Pharmacy
      Reimbursement Overpayment Program that you referenced in your May 5, 2016 email to
      reporter Lee Zurik from Fox 8 News in New Orleans, available at
      http ://www. fox8live. com/story/31927914/zurik-unitedoptum-defends-pres cription-
      overpayment-program/.


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N.       "Relating to" shall mean directly or indirectly mentioning or describing, concerning,
         referring to, regarding, evidencing, setting forth, identifying, memorializing, created in
         connection with or as a result of, commenting on, embodying, evaluating, analyzing,
         tracking, reflecting or constituting, in whole or in part, a stated subject matter.

0.       "Third party payor" shall mean any organization that pays or insures health or medical
         expenses on behalf of beneficiaries or recipients, such as commercial insurance
         companies and self-insured employers.

P.       "You" or "your" refers to the person(s) or business entity(s) to whom this Investigative
         Subpoena is directed as reflected on the first page. With respect to corporations or other
         business entities, these terms also shall be deemed to include all owners, officers, agents
         and employees thereof, and any predecessor, successor, parent, subsidiary, division, d/b/a
         and affiliated companies or other entities. It also includes Catamaran Corporation. To
         the extent documents for Catamaran Corporation are not in your custody or control,
         identify the person who does have custody and control of such documents.

                                   SPECIAL INSTRUCTIONS

         Electronic documents should be produced in accordance with the following instructions:

A.       Single page TIFFs at a 300 DPI resolution which are named for the Bates Number of the
         page. There should NOT be more than 1000 images per folder.

B.       Document level text files containing OCR or extracted text named with the Bates
         Number of the first page of the document.

C.       Data load file containing all of the metadata fields (both system and 'application — see list
         below) from the original Native documents — .dat for Concordance.

D.       The Concordance .dat file of extracted metadata should be delimited with the
         Concordance default characters — ASCII 020 for the comma character and ASCII 254 for
         the quote character. The use of commas and quotes as delimiters is not acceptable.

E.       The database field name should be included in the first line of the metadata file listed in
         the order they appear in the file.

F.       An image load file for Concordance — such as .opt.

G.       For electronic documents created in Excel (spreadsheets) or Access (databases), provide
         those documents in Native format.

H.       For all documents produced, provide the following:

     Field #      Field Name                Format        I                 Description

                                                  7
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   Field #        Field Name          Format                        Description
                          '
     1            BEGDOCNO              Text       Image key of first page of document


                                                   Image key of last page of document
     2            ENDDOCNO              Text

                                                   For emails/attachments ONLY: Image
                                                   key of the first page of the parent email.
     3           BEGATTACH              Text
                                                   Please DO NOT populate these fields for
                                                   emails with no attachments.           ,
                                                   For emails/attachments ONLY: Image
                                                   key of the last page of the last
                                                   attachment.
     4           ENDATTACH              Text
                               -                   Please DO NOT populate these fields for
             •                                     emails with no attachments.
                                                    Custodian from whom documents were
     5           CUSTODIAN              Text       collected
                                                   Email "From" data or user/author name
     6             AUTHOR               Text       from electronic files
                                                   Email "To" data (semi-colon delimited, if
     7            RECIPIENT             Text       multiple entries)
                                                   Email "CC" data (semi-colon delimited, if
     8               CC                 Text       multiple entries)
                                                   Email "BCC" data (semi-colon delimited,
     9              BCC                 Text       if multiple entries)
                                              Email subject. This value should be       ,
     10          MAILSUBJECT            Text  populated down to any
                                              children/attachments of the parent email.
             .                                Email date sent. This value should be
     11           MAILDATE         MM/DD/YYYY populated down to any
                                              children/attachments of the parent email.
                                              Email time sent, in military time. This
     12           MAILTIME          HH:MM:SS value should be populated down to any
                                              children/attachments of the parent email.
                                              Semi-colon delimited list of the original
     13      ATTACHMENTS               Text   file names of any attachments to an
                                              email
                                              For emails: Mail subject
     14           FILENAME             Text   For attachments and e-files: File name
                                              from source media


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      Field #       Field Name                Format                          Description
                                                            Hash value generated for purposes of de-
        15        HASH VALUE                   Text         duplication if performed



                                    RELEVANT TIME PERIOD

         The relevant time period, unless otherwise indicated in a specific request, is from January
 1, 2012 to the present. The time limits should not be construed as date limits; for example, if a
 policy or document in effect during the relevant time period was created before the relevant time
 period, then documents dating back to the starting date of the policy must be produced.

                    DOCUMENTS AND INFORMATION TO BE PROVIDED

         These requests are limited to documents and information relating to transactions
 involving Chicago consumers, including but not limited to documents and information that may
 be national or regional in scope that apply to Chicago consumers, among other consumers.

 1.       Produce all contracts with third party payors whose beneficiaries include Chicago
          consumers that contain any provision, term, or information relating to copay clawbacks,
          instances where a consumer's deductible, coinsurance, copay, or any combination thereof
          would exceed the cash price that a consumer not utilizing insurance would pay for the
          same prescription, and/or gag clauses.

 2.       Produce all communications with third party payors whose beneficiaries include Chicago
          consumers relating to copay clawbacks, instances where a consumer's deductible,
          coinsurance, copay, or any combination thereof would exceed the cash price that a
          consumer not utilizing insurance would pay for the same prescription, and/or gag clauses.

 3.       Produce all contracts with Cigna Corporation, Cigna Health and Life Insurance
          Company, Cigna HealthCare of Illinois, Inc., United HealthCare Services, Inc., United
          HealthCare Insurance Company, UnitedHealthCare of Illinois, Inc., and any of their
          relevant parent corporations, subsidiaries, or affiliates relating to the administration or
          management of pharmacy benefit services for Chicago consumers.

4.        Produce all contracts with any pharmacy with which you have contracted to fill
          prescriptions for Chicago consumers that contain any provision, term, or information
          relating to copay clawbacks, instances where a consumer's deductible, coinsurance,
          copay, or any combination thereof would exceed the cash price that a consumer not
          utilizing insurance would pay for the same prescription, and/or gag clauses.

5.        Produce all communications with any pharmacy with which you have contracted to fill
          prescriptions for Chicago consumers relating to copay clawbacks, instances where a
          consumer's deductible, coinsurance, copay, or any combination thereof would exceed the-/
          cash price that a consumer not utilizing insurance would pay for the same prescription,
          and/or gag clauses.

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 6.    Produce all documents relating to Chicago consumers' obligation to pay a deductible,
       coinsurance, or copay relating to the prescription drug plans you manage, including, but
       not limited to, any document that defines those terms and any document relating to the
       price Chicago consumers are entitled to pay for prescription drugs.

 7.    Produce all documents provided to Chicago consumers relating to copay clawbacks,
       instances where a consumer's deductible, coinsurance, copay, or any combination thereof
       would exceed the cash price that a consumer not utilizing insurance would pay for the
       same prescription, and/or gag clauses.

 8.    Produce all manuals, policies, procedures, or guidelines relating to copay clawbacks,
       instances where a consumer's deductible, coinsurance, copay, or any combination thereof
       would exceed the cash price that a consumer not utilizing insurance would pay for the
       same prescription, and/or gag clauses, including but not limited to any drafts or
       amendments.

 9.    Produce all internal and/or external memos, press releases, presentations, talking points,
       reports, and/or analyses relating to copay clawbacks, instances where a consumer's
       deductible, coinsurance, copay, or any combination thereof would exceed the cash price
       that a consumer not utilizing insurance would pay for the same prescription, and/or gag
       clauses.

 10.   Produce all documents relating to your Pharmacy Reimbursement Overpayment Program.

 11.   Produce all complaints or questions from any person relating to copay clawbacks,
       instances where a consumer's deductible, coinsurance, copay, or any combination thereof
       would exceed the cash price that a consumer not utilizing insurance would pay for the
       same prescription, and/or gag clauses submitted by consumers, pharmacies, or third party
       payors and any documents relating to how those complaints or questions were addressed.

 12.   Produce all documents relating to communications with any third party relating to copay
       clawbacks, instances where a consumer's deductible, coinsurance, copay, or any
       combination thereof would exceed the cash price that a consumer not utilizing insurance
       would pay for the same prescription, and/or gag clauses. Third parties include but are not
       limited to lobbyists, government agencies, consultants, and trade groups, including but
       not limited to any National, Illinois, or Chicago pharmacy, insurance, and/or PBM
       associations.

 13.   Produce all documents and information previously produced in response to any other
       government investigation relating to copay clawbacks, instances where a consumer's
       deductible, coinsurance, copay, or any combination thereof would exceed the cash price
       that a consumer not utilizing insurance would pay for the same prescription, and/or gag
       clauses.




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14.   Produce al1 deposition transcripts of your current or former employees and agents relating
      to copay clawbacks, instances where a consumer's deductible, coinsurance, copay, or any
      combination thereof would exceed the cash price that a consumer not utilizing insurance
      would pay for the same prescription, and/or gag clauses.

15.   For all claims relating to Chicago consumers that were subject to a copay clawback or
      where the consumer's deductible, coinsurance, copay, or any combination thereof would
      exceed the cash price that a consumer not utilizing insurance would pay for the same
      prescription, produce either documents sufficient to show or state:

      a.      The transaction number or any other number that can identify the specific
              transaction;
      b.      The date the prescription was filled;
      c.      The identity of the pharmacy filling the prescription, indicated by National
              Provider Identifier (NPI);
      d.      The name of the drug prescribed, indicated by National Drug Code (NDC);
      e.      The quantity filled;
      f.      The cash price of the prescription that an uninsured person would pay for the
              same prescription at the same pharmacy on the same date;
      g.      The wholesale acquisition cost (WAC) for the same prescription on the same
              date;
      h.      The average wholesale price (AWP) for the same prescription on the same date;
      i.      The maximum allowable cost (MAC) for the same prescription on the same date;
      j.      The negotiated price for the prescription on that date;
      k.      The amount of any payment paid by the Chicago consumer, and the breakdown
              of the payment (e.g. amount of copay or coinsurance, deductible, coupon, etc.);
      1.      The amount of any payment paid to the third party payor; and
      m.      The amount of any payment received from the third party payor.




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 Dated this 8th day of November, 2018.



                                         EDWARD N. SISKEL
                                         Corporation Counsel
                                         of the City of Chicago


                                                         (riAs
                                                ELINOR NOTZ
                                             uty Corporation Coune1.
                                                                   s,
                                         ELIE T. ZENNER
                                         Assistant Corporation Counsel
                                         Affirmative Litigation Division
                                         City of Chicago Department of Law
                                         121 North LaSalle Street
                                         City Hall — Room 600
                                         Chicago, Illinois 60602
                                         Tel: (312) 744-0200
                                         jane.notz@cityofchicago.org
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                                         EXHIBIT "A"
                                 CERTIFICATE OF COMPLIANCE


 IN THE MATTER OF OPTUMRX, INC.
                                                       INVESTIGATIVE SUBPOENA



         NOW COMES                                               (person having knowledge of the
 facts and circumstances relating to the production), who after first being duly sworn deposes and
 says:
         1.     That the deponent is the                                   of           and in his or
 her capacity as                            has knowledge of the facts and circumstances relating
 to                            's production of documentary material.
         2.     That on the           day of the month of                   of the year 201_, the
 deponent was provided the subpoena served on                                   in connection with
 above-entitled investigation, calling for the production of records of
         4.     That the deponent certifies that all of the documentary material requested by the
 subpoena and in the possession, custody, or control of                                   has been
 produced and made available to the Corporation Counsel.

 Executed on:
                        (Date)                                (Signature of Deponent)




                                                              (Printed Name of Deponent)

SUBSCRIBED AND SWORN to before me by
                              this       day of                   ,201_.




NOTARY PUBLIC in and for the
County of                , State of
